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NO         IP        PORT    Status                     Peer ID                                   Torrent Hash                                        Torrent Name                        Timestamp
 1   72.235.58.222   15711   valid    2D415A353735302D5363504D666C78654F633635   41D38BDD341F7FC7709ABB7940B287AEE5190D4D   The Hitmans Bodyguard 2017 1080p WEB‐DL DD5.1 x264‐PSYPHER    3/11/2018 9:13:45
 2   72.235.58.222   46097   valid    2D415A353736302D573565587A71424C70784159   41D38BDD341F7FC7709ABB7940B287AEE5190D4D   The Hitmans Bodyguard 2017 1080p WEB‐DL DD5.1 x264‐PSYPHER    3/11/2018 9:52:41
 3   72.235.58.222   50869   valid    2D415A353736302D573565587A71424C70784159   41D38BDD341F7FC7709ABB7940B287AEE5190D4D   The Hitmans Bodyguard 2017 1080p WEB‐DL DD5.1 x264‐PSYPHER   3/11/2018 17:31:12
 4   72.235.58.222   35128   valid    2D5554353533302D6A52636D214128793233296C   FF29CB75986B6711CB47E75865F5BD758D080B3E   The.Hitmans.Bodyguard.2017.HDRip.XviD.AC3‐EVO                  6/8/2019 8:26:24
 5   72.235.58.222   49112   valid    2D5554353533302D614443437E3441456B332E41   FF29CB75986B6711CB47E75865F5BD758D080B3E   The.Hitmans.Bodyguard.2017.HDRip.XviD.AC3‐EVO                  6/8/2019 8:29:15

                                                                                                  Exhibit "2"
